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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

LILY ENGLEMAN,

Plaintiff,
                                              Civil Action
v.                                            File No. 1-21-cv-1992-MLB

NATHAN ADKERSON, et al.,

Defendants.

                                     ORDER

      Upon consideration of the Joint Motion to Extend Discovery and for good

cause shown, the Court hereby GRANTS the motion and extends discovery

through and including December 31, 2022, and extends the deadline for the

filing of dispositive motions to January 30, 2023.

      SO ORDERED this 19th day of July, 2022.




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